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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION


   ENDURANCE AMERICAN                        §        CASE NO. 6:20-cv-00571
   INSURANCE COMPANY                         §
                                             §        JUDGE: Hon. S. Maurice Hicks, Jr.
         v.                                  §
                                             §        MAGISTRATE: Hon. David J. Ayo
   CHEYENNE PARTNERS, LLC et al.             §



                 SECOND AMENDED CASE MANAGEMENT ORDER


   TRIAL DATE:                        April 3, 2023

   PRE-TRIAL CONFERENCE:              March 8, 2023


   I.    Lead Counsel

         Jennifer E. Michel; Endurance American Insurance Co.

         Randall K. Theunissen; Cheyenne Partners LLC, Eagle Air LLC and Charles E.
         Vincent.

         John R. Walker; Global Data Systems Inc.

         Kenneth H. Laborde; SLD Aircraft LLC, Southern Lifestyle Development Co. LLC,
         Rodney L. Savoy, RRCO Aircraft, LLC, Parkside Properties, LLC, Robert W. Daigle
         and RR Company of America, LLC.

         Philip C. Brickman; Ian Biggs Estate.

         Michael J. Remondet, Jr.; Chris Vincent Individually and on behalf of Gretchen David
         Vincent, and M.W.V.

         John W. Martinez; Travelers Casualty & Surety Co.

         Joseph P. Guichet; The Travelers Indemnity Company of Connecticut and Travelers
         Property Casualty Company of America.

         Blake R. David; Stephen Wade Berzas, individually and on behalf of his four minor

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          children, M. Berzas, G. Berzas, C. Berzas, and K. Berzas, and Mackenzie Berzas.

          Richard J. Arsenault and Dustin C. Carter; Mignone Denay Crisp and Robert Vaughn
          Crisp II Estate.

          Jeffrey M. Bassett and P. Craig Morrow; Kristie Danielle Britt, Individually and on
          behalf of E.B., Robert Britt. individually and on behalf of his minor child E.B., and
          Andy Truxillo.

          Jonathan C. Pedersen; Steven Ensminger Jr., individually and on behalf of his late wife
          Carly McCord Ensminger

          Mark G. Artall; Megan Thomas, Ashley Ballard and Rayna Ledet, et al.

          Charles William “Will” Montz, Jr.; Damian Lucas Crisp.

          W. Alan Lilley; Ethan Biggs, Shannon Biggs and Madison Biggs.

          James A. Prather and C. Bowman Fetzer; QBE Insurance Corporation

          Christopher R. Teske; AIG Property Casualty Company


   II.    Initial Disclosures

          Most of the Parties have, or should have already, exchanged Initial Disclosures under

   Rule 26. Any Party that has not served their Initial Disclosures under Rule 26 must do so no later

   than 10 days after the date of this Second Amended Case Management Order.



   III.   Fact Discovery

          A.      Fact Discovery Deadline: The deadline for all Fact Discovery, including written

                  discovery, is December 30, 2022.

          B.      Persons/Entities to be Deposed in Fact Discovery: At this time, with respect to Fact

                  Discovery, the parties reasonably believe the following persons or entities may

                  need to be deposed:

                   (1)     Cheyenne Partners, LLC

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                      (2)      Eagle Air, LLC
                      (3)      Charles E. Vincent
                      (4)      Cherry Thompson
                      (5)      Global Data Systems, Inc.
                      (6)      Leslie Daigle
                      (7)      Lyndsey Degatayuer
                      (8)      Southern Lifestyle Development Company, LLC
                      (9)      SLD Aircraft, LLC
                      (10)     Rodney L. Savoy
                      (11)     Tricia Sieferman
                      (12)     Robert Gagnard
                      (13)     Robert Daigle
                      (14)     RRCO Aircraft, LLC
                      (15)     RR Company of America, LLC
                      (16)     Bank of Erath
                      (17)     Private Aircraft Hangar of Lafayette, LLC
                      (18)     Chris Hawthorne
                      (19)     Parkside Properties, LLC
                      (20)     Jason Matthews
                      (21)     Brandon Hebert
                      (22)     Brian Blessing
                      (23)     Peyton Enloe
                      (24)     Paul Jones
                      (25)     Shannon Biggs
                      (26)     Stephen Wade Berzas
                      (27)     Mackenzie Berzas
                      (28)     Kristie Danielle Britt
                      (29)     Robert Britt
                      (30)     Andy Truxillo
                      (31)     Mignone Denay Crisp
                      (32)     Steven Ensminger, Jr.
                      (33)     Any other person(s)/entity(ies) the parties previously identified in their
                               Initial Disclosures. 1
                      (34)     Any other person(s)/entity(ies) the parties have not yet determined need to
                               be deposed, subject to the notice requirements and associated protocol
                               provided in Sections IV(C) and III(D), infra.

            C.       If a party has not yet determined who will need to be deposed, absent special

                     circumstances or consent of the parties, at least two weeks’ notice must be given

                     for proposed deposition of individuals and at least thirty (30) days’ notice must be



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     While not an exhaustive list of every person that may need to be deposed, the parties’ initial disclosures provided
   the names of individuals likely to have discoverable information and who may need to be deposed.

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               given for any proposed depositions of corporations or entities pursuant to Rule

               30(b)(6), including proposed areas of inquiry and requests for production, if any. If

               a request for production under Rule 30(b)(2) or Rule 34 is included in the Notice

               of Rule 30(b)(6) Deposition, the formal Notice must be propounded no later than

               forty-five (45) days prior to the deposition date, and the documents requested must

               be produced at least ten (10) days prior to the deposition. For all depositions to be

               conducted pursuant to Rule 30(b)(6), any objections to the areas of inquiry and/or

               document requests contained in the Notice, or an attachment thereto must be

               submitted to all parties within thirty (30) days of service of the Notice.

         D.    In addition to the more specific provisions set forth above, the conduct of discovery

               and taking of depositions shall be subject to the following general provisions:

               (1)    Each party who has provided responses to interrogatories, requests for

                      production of documents, or requests for admissions is under a continuing

                      obligation to supplement or correct its response or production in a timely

                      manner if the party learns that in some material respect the response or

                      production is incomplete or incorrect.

               (2)    Each party who has been noticed for a deposition shall make supplemental

                      responses to requests for production of documents reasonably in advance of

                      the deposition, including voluntary disclosures required under Rule 26, no

                      less than ten (10) days before the deposition.

               (3)    Any party who intends to use, at a deposition, documents that have not been

                      previously produced in this litigation shall produce such documents to all

                      parties no later than ten (10) days before the deposition, unless the


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                        documents in question are solely for impeachment.

                (4)     The right is reserved to all parties, subject to such further orders of the Court

                        as may be appropriate, to re-notice the deposition of any party who does not

                        produce documents reasonably in advance of the deposition as set forth

                        herein or who produces additional documents after the deposition.

         E.     Fact Discovery Deposition Dates: The parties are currently holding the following

                dates for Fact Discovery depositions:

                (1)     September 5-9, 2022
                (2)     October 10-14, 2022
                (3)     November 14-18, 2022
                (4)     December 12-16, 2022

                The parties will continue to confer, as necessary, to reserve additional mutually

                agreeable dates for the taking of Fact Discovery depositions.


   IV.   Expert Discovery

         A.     Expert Discovery Deadline: The deadline for completing expert discovery is

                December 30, 2022.

         B.     The parties shall make a good faith effort to identify any and all experts who will

                testify at trial in their preliminary witness lists referenced in Section IX, infra, and

                they shall supplement similarly their expert lists at the end of each month until the

                end discovery.

         C.     For testifying experts, the cross-claimants shall make the disclosures required

                under Rule 26(a)(2)(B) on or before October 15, 2022. The cross-claim

                defendants shall make the disclosures required under Rule 26(a)(2)(B) on or

                before November 30, 2022.


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          D.     Depositions of Experts: The parties will meet-and-confer, as necessary, following

                 service of their respective expert reports to discuss and reserve mutually agreeable

                 dates for the taking of Phase I expert depositions in the case.


   V.     Deadline to Amend and/or Add Additional Parties

          The deadline for amending claims or defenses and/or adding any additional parties in this

   case is October 15, 2022. Amendment of claims or defenses and/or joinder of additional parties

   may be made thereafter upon motion of any party (subject to the protocol provided in Section

   X(A), infra) and a showing of good cause, including amending claims and/or defenses

   precipitated by the Factual NTSB Report.


   VI.    Surveillance Evidence

           A.     The following rules governs discovery of any surveillance evidence intended to

                  be offered at trial, whether offered for impeachment purposes or as substantive

                  evidence. See Chiasson v. Zapata Gulf Marine, Corp., 988 F.2d 513, 517 (5th

                  Cir.1993):

                  (1)     A party must make a timely request for discovery of surveillance

                          evidence. Timeliness means that this request must be made prior to the

                          end of the Fact Discovery deadline. An untimely request for surveillance

                          evidence will be treated as any other untimely discovery request.

                  (2)     The respondent need not respond to the discovery request and need not

                          indicate whether there exists any evidence until 120 days before Trial.

                          On or before the deadline, the respondent shall turn over to the requesting

                          party all surveillance evidence in his possession or control, or identify the


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                      evidence and assert the evidence is privileged or protected. See FED R.

                      CIV. P. 26(b)(5). Additionally, respondent shall identify the individual(s)

                      who will be necessary to lay a proper foundation for admission of such

                      evidence at trial.

                (3)   The respondent has the right to depose or re-depose the individual who

                      might have been the subject of the surveillance, prior to responding to the

                      discovery request; the party requesting the surveillance evidence may

                      depose any individuals who conducted the surveillance after receipt of

                      the surveillance evidence.

                (4)   Depositions shall be upon reasonable notice to all parties, and shall be

                      limited in scope to impeachment issues and updating any previous

                      deposition, and must be completed by no more than 90 days before

                      Trial.

                (5)   Surveillance evidence will not be accepted at trial unless:

                      (a)      the offering party has complied with the requirements set forth
                               above;

                      (b)      the party subject to surveillance has failed to request discovery of
                               the evidence in question; or

                      (c)      the offering party shows good cause for an exception to these rules.

                (6)   Any party who intends to offer surveillance films or videotapes into

                      evidence at trial shall meet with all parties who have requested discovery

                      of surveillance evidence and they shall jointly edit the material and agree

                      on the portions to be shown at trial to the extent possible. The film shall

                      be edited to remove non-essential and unnecessary material.


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   VII.   Preliminary Witness & Exhibit Lists

          If not done so pursuant to the prior Case Management Order or Amended Case

   Management Order, all parties shall exchange preliminary witness and exhibit lists no later than

   October 1, 2022, with a good faith effort to identify the witnesses and exhibits that actually may

   be relied upon by the listing party at trial. The witness and exhibit lists shall be supplemented at

   the end of each subsequent month until the completion of Fact and Expert Discovery. The failure

   to supplement timely either list may give rise to an untimely added witness or exhibit being

   precluded from use at trial.


   VIII. Motion Practice

          A.      Pre-Filing Protocol: Proposed motions shall be circulated to and among all

                  counsel, and if no opposition is made by counsel, the motion may be filed in the

                  record. If there is opposition, a copy of the proposed motion should be e-mailed

                  to the Court so that it can be discussed at the next monthly telephonic status

                  conference before being filed in the record.

          B.      Dispositive Motions: Dispositive motions may be filed at any time, subject to a

                  party's rights under F.RC.P. Rule 56(d) and the pre-filing protocol Section X(A),

                  supra.

          C.      Daubert Motions must be filed no later than January 15, 2023.

          D.      Oppositions to Motions must be filed not more than twenty-one (21) days

                  following the filing of the Motion.

          E.      Reply briefs, if any, must be filed not less than seven (7) days following the filing

                  of an opposition memorandum and shall not exceed ten (10) pages.

          F.      Any party may join in any Motion filed by any other party by (a) filing a notice in

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               the record setting forth which request(s) for relief that party is joining and which

               request(s) for relief that party is not joining, and/or (b) by the filing party expressly

               noting such joinder in the motion and clearly identifying which non-filing

               party(ies) join in the Motion.

         G.    It is unnecessary for the Parties to send courtesy copies of motions or memoranda

               to the Magistrate Judge. Motions and memoranda should employ 14-point font for

               text and 12-point font for footnotes.

         H.    Hearing Dates: Hearing Dates on Motions, and any other matters before the

               Court, will be set as necessary by the Court, and adequate notice of same will be

               provided to all Parties.


   IX.   Status Conference

         A.    Periodic (monthly) status conferences shall be held for Lead Counsel and/or their

               designated substitutes, as set forth in Section I, supra, on the dates selected by the

               Court, regardless of whether any motions are set to be heard on those dates. If no

               dispositive, Daubert, or in limine motions are pending for argument, the

               conference and/or hearing may be held by telephone.

         B.    Discovery disputes submitted to the Magistrate Judge via email, as contemplated

               by Section X(A), supra, will be heard during the periodic telephonic status

               conferences unless the Court directs the Parties that the dispute will be held in-

               person.


               Pre-trial Matters

         C.    Meeting of Counsel to Complete Pre-Trial Order: February 6, 2023


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        D.     Motions in Limine: February 6, 2023

        E.     Pre-Trial Order and Joint Verdict Form Submission: February 22, 2023

        F.     Bench Books: February 22, 2023

        G.     Edited Trial Deposition Transcripts/Video Deposition Cuts: February 22, 2023

        H.     Real time glossaries to the Court Reporter and electronic copies of Exhibits

               delivered to the Clerk: March 1, 2023

        I.     Affirmation of ADR Efforts: March 1, 2023


 X.     Settlement Conference

        Alternative dispute resolution, whether by private mediation or settlement conference

 with the Magistrate Judge, shall take place at any time within sixty (60) days from the

 conclusion of Fact Discovery. However, this does not preclude the Parties from agreeing to

 private mediation or a settlement conference with the Magistrate Judge sooner.

         Signed at Lafayette, Louisiana on this 19th day of September, 2022.




                                           DAVID J. AYO
                                           UNITED STATES MAGISTRATE JUDGE




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